                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS

                                    EASTERN DIVISION


                                           )
Shaquille Prince,                          )
                                           )
                    Plaintiff,             )
                                           )
v.                                         )
                                           )
Sergeant Michael Michienzi #357; Detective )           No.: 1:19-cv-07265
Tom Dorsey; Village of Romeoville,                     Honorable Judge Robert W. Gettleman
                                           )           Honorable Magistrate Judge Susan E.
                                           )
                    Defendants.                        Cox
                                           )
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                    PORTIONS SEALED DOCUMENT PURSUANT TO LR26.2


               Portions of this document are being provisionally filed under seal.
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Shaquille Prince,                          )
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Tom Dorsey; Village of Romeoville,                      Honorable Judge Robert W. Gettleman
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    PLAINTIFF’S COUNSEL’S EX PARTE MOTION FOR LEAVE TO WITHDRAW

        Plaintiff’s counsel, Rachael Pontikes, David Hartmann, and Kelly Kearney of Reed Smith
LLP (collectively, “Counsel”) respectfully submits this ex parte motion for leave of Court, under
Rule 1.16 of the Illinois Rules of Professional Conduct and this Court’s Local Rules 83.38 and
83.50 to withdraw its appearance as counsel for Plaintiff Shaquille Prince in the above-captioned
matter (the “Motion”). In support of its Motion, Counsel states the following:

       1.       Portions of this Motion are being provisionally filed electronically under seal
pursuant to this Court’s Local Rule 26.2. As such, portions of the Motion have been redacted.

       2.      Plaintiff initially represented himself pro se in the above-captioned 42 U.S.C. §
1983 action in December 2019, until he was appointed counsel on December 11, 2019.

        3.    Plaintiff currently resides, and has resided at all times Counsel has been appointed,
at the DeKalb County Jail (the “Jail”).

       4.      On January 21, 2020, Counsel mailed Plaintiff an agreement for legal services (the
“Engagement Letter”) to confirm that Reed Smith LLP has agreed to represent Plaintiff in
connection with the above-captioned matter. Counsel requested that Plaintiff acknowledge his
agreement with the Engagement Letter by signing the Engagement Letter and mailing it back to
Counsel. Counsel included a copy of the Engagement Letter for Plaintiff’s records as well as a
prepaid return envelope.

       5.      When Counsel did not receive back the signed Engagement Letter, Counsel
understood it was because Plaintiff had failed to receive it. Counsel therefore coordinated with
the Jail deputies to schedule an in-person interview on March 10, 2020. Counsel intended to bring
another copy of the Engagement Letter in order to obtain Plaintiff’s signature.

         6.      On March 9, 2020, the Governor of Illinois issued a disaster proclamation due to
the COVID-19 pandemic and proclaimed that a “disaster exists within the State of Illinois.” As a
result, all in-person interviews with Plaintiff at the Jail were cancelled. In light of Illinois’ state of
disaster, understanding that Plaintiff was willing to sign the Engagement Letter but was having
administrative difficulties, Counsel continued to move forward with the preparation of Plaintiff’s
case without the signed Engagement Letter, to keep the case moving.

       7.     In order to find another way to communicate with Plaintiff to amend his complaint
during the COVID-19 pandemic, Counsel, with the assistance of opposing counsel, was given
contact information for a Jail lieutenant to arrange calls with the Plaintiff.

        8.       On March 17, 2020, Counsel initiated correspondence with the lieutenant. The
lieutenant was able to communicate with Plaintiff and gave Plaintiff Counsel’s phone number so
that Plaintiff could reach Counsel at any time.

       9.      Soon thereafter, Counsel scheduled weekly calls with Plaintiff in order to discuss
various matters to keep the case moving and to apprise Plaintiff of the status of the case.

       10.    At all times, despite the absence of a signed Engagement Letter, Counsel kept the
case moving, understanding the failure to have an Engagement Letter was an administrative
problem based on difficulties of the COVID-19 pandemic.

       11.     On May 18, 2020, Counsel and opposing counsel filed a joint status report apprising
the Court of the status of the case.

        12.     On June 30, 2020, Counsel filed an amended complaint on behalf of Plaintiff.

        13.    On July 30, 2020, Counsel and opposing counsel again filed a joint status report
apprising the Court of the status of the case thus far.

        14.     On August 31, 2020 Counsel served Initial Rule 26(a)(1) disclosures,
interrogatories, and requests for production on all defendants. Counsel has engaged in several
telephone conferences with opposing counsel as well, to keep the case moving.

        15.      Meanwhile, regarding the Engagement Letter, Counsel read Plaintiff the
Engagement Letter over the phone in February 2020 and again in September 2020. Counsel sent
the Engagement Letter to Plaintiff four separate times: on January 21, 2020; September 1, 2020;
September 22, 2020; and September 28, 2020. For ease of return, all of the letters included copies
for Plaintiff’s record as well as a prepaid return envelope.

       16.    Plaintiff also asked Counsel on multiple occasions to represent him in other matters
wholly unrelated to the above-captioned matter and outside of the Engagement Letter, whereupon
Counsel repeatedly explained to Plaintiff that Counsel was representing Plaintiff in the above
captioned matter only. .

       17.    To make sure the scope of the representation was clear, Counsel subsequently
followed up with a letter outlining the scope of the representation (the “Scope Letter”), which
tracked the Court’s Screening Order of December 11, 2019 (at Docket No. 7), appointing Reed
Smith lawyers and dismissing certain parties. The Scope Letter was sent to Plaintiff on September
1, 2020, September 22, 2020, and September 28, 2020. For ease of return, all of the letters also
included copies for Plaintiff’s record as well as a prepaid return envelope.
         18.    Over the course of late August to the present, culminating in Plaintiff’s filing of his
letter to this Court on October 2, 2020, Counsel came to understand, through that filing and
previous phone conferences with Plaintiff, that Plaintiff does not agree to the scope of the
engagement and in fact does not intend to sign the Engagement Letter or agree to proceed within
the scope of Reed Smith’s appointment.

        19.    As the Court requested in its October 6, 2020 email, Counsel has continually, over
the course of the representation, explained to Plaintiff on numerous occasions Counsel’s ethical
obligations under the Illinois Rules of Professional Conduct, which include securing Plantiff’s
agreement to the scope of the engagement via the Engagement Letter. On several occasions,
Counsel stressed the importance of its ethical oblications by explaining, as explained in the
Engagement Letter, that Counsel would be forced to seek leave to withdraw if Counsel could not
secure the Plaintiff’s cooperation to meet these ethical obligations. Counsel has continually
explained to Plaintiff that Counsel needed Plaintiff to agree to the terms of the engagement,
specifically by signing the Engagement Letter and agreeing to proceed within the scope of Reed
Smith’s appointment.

        20.      On October 2, 2020, the Court posted to the docket a letter from Plaintiff to the
Court asking this Court to advise him regarding Counsel’s request for an engagement letter.
Plaintiff’s letter attached both the Engagement Letter and the Scope Letter, which were intended
by Counsel to be privileged communications.

        21.    Despite speaking with Counsel daily from September 25 to September 28, and
having permission from the Jail to call and leave messages for Counsel at Counsel’s Reed Smith
office number whenever convenient, Plaintiff never told Counsel or left any voicemail indicating
that he intended to seek counsel from this Court regarding the Engagement Letter.

        22.    As demonstrated by Plaintiff’s submission of this letter to the Court, among other
facts that Counsel can provide to the Court in an in camera/ex parte hearing if necessary, Plaintiff
does not appear to trust Counsel, nor appears to be willing to agree to engagement terms and
conduct the case consistent with the Court’s ruling of December 11, 2019, and therefore there has
been an irreparable breach of trust in the attorney-client relationship, prompting Counsel to seek
leave to withdraw.

       23.     Counsel provided Plaintiff with notice of Counsel’s intent to file this Motion.

       24.      To discuss the Motion, Counsel set up a call with Plaintiff for October 8, 2020.
During the October 8, 2020 call, Plaintiff confimed he had received the Motion, and subsequently
refused to discuss it, indicating only that he had no comment. Unable to move forward, Counsel
ended the call, and proceeded with this Motion.

       25.     Counsel seeks to withdraw under Rules 1.16(b)(3), (b)(4), and (b)(5) of the Illinois
Rules of Professional Conduct, which allow for withdrawal when:

       [it] can be accomplished without material adverse effect on the interests of the
       client;
       […]
       the client insists upon taking action that the lawyer considers repugnant or with
       which the lawyer has a fundamental disagreement;
       the client fails substantially to fulfill an obligation to the lawyer regarding the
       lawyer’s services and has been given reasonable warning that the lawyer will
       withdraw unless the obligation is fulfilled.
IL R S CT RPC Rule 1.16(b)(3)-(5) (emphasis added). Northern District of Illinois Local Rule
83.38 similarly supports Counsel’s effort to seek withdrawal. See NDIL LR 83.18(3) (“After
assignment counsel may move for relief from an order of assignment only on the following grounds or
on such other grounds as the assigning judge finds adequate for good cause shown: … Some personal
incompatibility or a substantial disagreement on litigation strategy exists between counsel and the
party.”) (emphasis added).

       26.      Additionally, Comment 7 to Rule 1.16 provides that “[t]he lawyer has the option to
withdraw if it can be accomplished without material adverse effect on the client's interests . . . The
lawyer may also withdraw where the client insists on taking action that the lawyer considers
repugnant or with which the lawyer has a fundamental disagreement.” IL R S CT RPC Rule
1.16 (emphasis added).

        27.     Finally, Comment 8 to Rule 1.16 provides that, “[a] lawyer may withdraw if the
client refuses to abide by the terms of an agreement relating to the representation, such as an
agreement concerning fees or court costs or an agreement limiting the objectives of the
representation.” IL R S CT RPC Rule 1.16 (emphasis added).

        28.    Counsel takes this court appointment, like all of its matters, very seriously. Counsel
has vigorously represented the interests of Plaintiff since being appointed by this Court. Counsel
amended the complaint, put together a robust discovery plan, and devised a detailed case strategy.
Further, Counsel has thoroughly and thoughtfully counseled this client. To date, Counsel has
billed 269.7 hours to represent Plaintiff in the above-captioned matter.

       29.      Nevertheless, Plaintiff insists on taking action with which Counsel has a
fundamental disagreement: the failure to agree to parameters of the Engagement and enter into an
Engagement Letter and agree to the scope of the case as established by the Screening Order.
Indeed, Plaintiff’s October 2, 2020 letter to the Court, where he is seeking counsel from the Court
regarding his Counsel’s advice, confirms the rupture in the relationship.

        30.    Counsel believes that Plaintiff has put Counsel in an untenable position by refusing
to agree to the terms and scope of the engagement, especially in light of Plaintiff’s repeated
requests to represent him in matters wholly unrelated to the above-captioned matter. Plaintiff’s
perception and understanding of the parameters of the engagement is very important, as is
Counsel’s ability to set expecations with Plaintiff regarding the terms and parameters of Counsel’s
engagement. Despite numerous phone conferences and Counsel’s diligence on this matter since
Counsel was appointed in December 2019, Counsel has been unable to secure Plaintiff’s
agreement to the terms of the engagement. As such, even if Plaintiff does agree at this juncture to
the terms of the engagement and signs the Engagement Letter, Counsel does not believe that he
will abide by the parmaters of the engagement.

        31.    As such, under these circumstances, despite Counsel’s very best efforts, it is clear
that the attorney-client relationship has been broken, and Counsel is thus compelled to seek
withdrawal from this matter.

       32.     Counsel also request that the Court continue the remaining discovery and status
hearing deadlines for at least 30 days to allow Plaintiff to seek replacement counsel or to proceed
pro per. Counsel will be glad to assist with a smooth transition.

       33.      Finally, Counsel request the Court place the attachments to Docket No. 53, entered
on October 2, 2020, under seal because Plaintiff may not have intended to risk the waiver of
attorney-client privilege as to those attachments when he included them in the letter to the Court.
        WHEREFORE, Plaintiff’s Counsel respectfully request this Court enter an Order granting
leave for Counsel to withdraw their appearance as counsel for Plaintiff, or, if necessary, set an in
camera/ex parte hearing on this Motion. A proposed Order accompanies this Ex Parte Motion
For Leave To Withdraw.


Dated: October 12, 2020                           Respectfully submitted,



                                              By: /s/ Rachael G. Pontikes
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                                                  Counsel for Shaquille Prince
                               CERTIFICATE OF SERVICE

       The undersigned, an attorney, certifies that on October 12, 2020, she caused a copy of the
foregoing PLAINTIFF’S COUNSEL’S MOTION FOR LEAVE OF COURT TO
WITHDRAW to be filed with the Court via the Court’s CM/ECF System, and served via UPS
upon the below parties:



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Dated: October 12, 2020                     Respectfully submitted,


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